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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
 ______________________________________
                                             :
 COMMUNITY ONCOLOGY ALLIANCE, :
 INC.,                                       :
                                             :
                     Plaintiff,              :
                                             :
                         v.                  : Civil Action No. 20-3604
                                             :
 U.S. DEPARTMENT OF HEALTH AND               :
 HUMAN SERVICES,                             :
                                             :
                                             :
 ALEX M. AZAR II, Secretary of the           :
 U.S. Department of Health and Human :
 Services, in his representative capacity,   :
                                             :
                                             :
 CENTERS FOR MEDICARE AND                    :
 MEDICAID SERVICES, &                        :
                                             :
                                             :
 SEEMA VERMA, Administrator of the Centers :
 for Medicare & Medicaid Services, in her :
 representative capacity,                    :
                                             :
                                             :
                     Defendants.             :
________________________________________

                                 JOINT STATUS REPORT

       Plaintiff Community Oncology Alliance, Inc. (“COA” or “Plaintiff”) and Defendants

United States Department of Health and Human Services (“HHS”), Alex M. Azar II, in his

representative capacity (“Secretary Azar”), the Centers for Medicare & Medicaid Services

(“CMS”), and Seema Verma, in her representative capacity (“Administrator Verma”) (HHS,

Secretary Azar, CMS and Administrator Verma collectively referred to herein as “Defendants”),

hereby submit this Joint Status Report to address the Court’s questions contained in the Minute

Orders issued on Monday, December 21, 2020.
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A.     Whether Plaintiff’s Motion for a Preliminary Injunction Should be Consolidated with
       the Merits under Federal Rule of Civil Procedure 65.
       Because Plaintiff has not yet seen Defendants’ response to its Motion for a Temporary

Restraining Order and Preliminary Injunction (the “Motion for Injunctive Relief”), ECF No. 11,

Plaintiff is presently uncertain whether consolidation would be most efficient.

       Defendants oppose consolidation of Plaintiff’s Motion for a Preliminary Injunction with

the merits. In response to the complaint, Defendants will likely seek dismissal of the case on

jurisdictional grounds, which the Court should resolve before addressing the merits. In addition,

Defendants’ position is that the merits of the case will be decided based on the administrative

record, which Defendants have not yet compiled, and which is not due for some time under the

Court’s Local Rules. Given these circumstances, Defendants do not believe this case is appropriate

for consolidation of the preliminary injunction motion and the merits.

B.     Recommendations from the Parties for Further Proceedings Including, if Necessary,
       a Briefing Schedule for Plaintiff’s Motion.

       Defendants will file their response to the Motion for Injunctive Relief on Monday,

December 28, 2020, consistent with the timing set forth in the Local Rules. Plaintiff has also

requested that the Court conduct a hearing prior to January 1, 2020—i.e., the date Defendants

intend to commence implementation of the MFN Interim Final Rule. If the Court chooses to hold

a hearing before year-end, Plaintiff hopes to be in a position to submit a Reply in support of its

Motion for Injunctive Relief before such hearing, time permitting. Defendants request that

Plaintiff be required to file any such reply at least 24 hours before the hearing, to allow time for

Defendants to consider the arguments therein. Plaintiffs oppose this request.




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C.     Whether the Parties Consent to the Transfer of This Case to a District in Which One
       of the Related Cases is Currently Pending for the Purposes of Potential Consolidation.
       Plaintiff advised the Court of three related cases in the District of Maryland, the Northern

District of California, and the Southern District of New York. ECF Nos. 4, 5 & 14.1 As of the

filing of this Joint Status Report, the parties’ motions for temporary restraining order and

preliminary injunction in the cases pending in the District of Maryland and Southern District of

New York have been fully briefed and argued. The briefing is nearly complete in the action in the

Northern District of California, but the court has not yet set a hearing date.

       Plaintiff would consider transfer to the District of Maryland if the case could be

consolidated with the related case pending there because: (a) it is geographically proximate; and

(b) some of the plaintiffs in that case are broadly similar to Plaintiff COA; however, Plaintiff would

like to conduct further investigation concerning the related case in the District of Maryland before

making a final commitment to the Court. Plaintiff does not consent to a transfer of this case to

either the Northern District of California or the Southern District of New York for both geographic

and substantive reasons.




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 These cases are: (a) Assoc. of Community Cancer Centers v. Azar, Case No. 1:20-cv-03531-CCB
(D. Md.); (b) Biotechnology Innovation Org. v. Azar, Case No. 3:20-cv-08603-VC (N.D. Cal.);
and (c) Regeneron Pharmaceuticals, Inc. v. U.S. Dep’t of Health and Human Servs., Case No.
7:20-cv-10488-KMK (S.D.N.Y.).
                                                  3
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       Defendants do not consent to the transfer of the case before Your Honor to any of the

districts of the related cases. If the Court is inclined to transfer the case, Defendants would like

the opportunity to brief the issue more fully.



Date: December 22, 2020                          Respectfully submitted,

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